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Attorneys for Defendants


                 IN THE UNITED STATES DISTRICT COURT OF GUAM


NOEL SLAPP,                                            CIVIL CASE NO. 13-00022

                       Plaintiff,

       vs.                                             ORDER OF DISMISSAL

WILLIAM E. TOELKES and
INTERNATIONAL BRIDGE AND
CONSTRUCTION MARIANAS, INC.
and DOES 1-10,


                       Defendants.




        Based on the stipulation of the parties and for good cause shown,

        IT IS HEREBY ORDERED that the above-captioned matter is dismissed with prejudice,

with each party bearing their respective fees and costs incurred in this matter.

        IT IS FURTHER ORDERED that the Court shall retain jurisdiction to enforce the

settlement agreement between the parties.

        SO ORDERED.


                                                     /s/ Frances M. Tydingco-Gatewood
                                                         Chief Judge
                                                     Dated: Dec 04, 2013




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